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11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA,                No. CR 19-313-SVW
14
                 Plaintiff,                    GOVERNMENT’S SUPPLEMENTAL FILING
15                                             TO ADMIT TESTIMONY REGARDING
                       v.                      DEFENDANT’S PREDISPOSITION TO USE
16                                             WEAPONS OF MASS DESTRUCTION
      MARK STEVEN DOMINGO,
17
                 Defendant.
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21         Plaintiff United States of America, by and through its counsel
22    of record, the Acting United States Attorney for the Central District
23    of California and Assistant United States Attorneys Reema M. El-Amamy
24    and David T. Ryan, hereby files its Supplemental Filing to Admit
25    Testimony Regarding Defendant’s Predisposition to Use Weapons of Mass
26    Destruction.
27    //
28    //
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 1         This Filing is based on the attached memorandum of points and

 2    authorities, the files and records in this case, and any further

 3    evidence or argument the Court may allow.

 4     Dated: July 9, 2021                 Respectfully submitted,

 5                                         TRACY L. WILKISON
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 7                                         Assistant United States Attorney
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 9                                               /s/
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12                                         UNITED STATES OF AMERICA

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2         In addition to D.R.’s testimony, the government intends to offer

 3    as evidence of defendant’s predisposition to use weapons the

 4    following exhibits:

 5                  On April 1, 2019, defendant posted an ISIS propaganda
 6                   video in the ISIS chatroom titled “New video message from

 7                   The Islamic State: ‘Separation of the Heads.’”        Other

 8                   members of the group responded by sharing additional

 9                   propaganda videos, and one member who claimed to be a

10                   Jihadi fighter in the Philippines responded with a quote

11                   regarding the need to spread Islam and stated “there is

12                   no room for weaknesses or inactivity or sitting back with

13                   those who remain behind.”     Defendant replied, “you’re an

14                   inspiration to me.    Do Philippine police . . . patrol

15                   your area.”    The fighter replied that Philippine police

16                   “once did same as the army but now none of them [are]

17                   here because [they] will get IED striked or gun/machete

18                   attacked.”    Defendant replied, “interesting . . . an ied

19                   here . . . would do so much damage.”       Another member of

20                   the group wrote, “have you ever seen a VIBED going off

21                   with your own eyes,” referring to a Vehicle Borne

22                   Improvised Explosive Device (“VBIED”).       The fighter from

23                   the Philippines replies, “Detonate motorbike or parked

24                   cars as VBIED.”    Defendant replied by posting a picture

25                   of a man in a mask behind the wheel of a car.”

26                  On June 4, 2017, defendant wrote to a friend regarding
27                   French forces who killed an ISIS fighter as the fighter

28                   attempted to detonate a car bomb, stating, “sucks that
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 1                   man didn’t reach his target . . . I watch isis videos . .

 2                   . they do these interviews with those drivers        . . . like

 3                   last words n shit.”    Defendant then sent J.B. two ISIS

 4                   propaganda videos.    One of those videos, titled, “Islamic

 5                   State – We Will Surely Guide Them To Us,” shows ISIS

 6                   fighters making and then detonating numerous IEDs like

 7                   the ones defendant intended to use in this case.

 8                  On March 23, 2019, defendant posted a picture in an ISIS
 9                   chatroom of AK-47 magazines and wrote, “theres a rave in

10                   a town to the east.    [S]hould i?”    Others then posted

11                   pictures of their firearms and other weapons, including

12                   IEDs.   Another participant wrote, “that’s a lot of IEDs.

13                   Feel like putting them on a 4x4.”      Another replied, “in

14                   the road and detonate them on foot fighter AFP or

15                   vehicles of AFP/PNP,” referring to the national police

16                   and army in the Philippines.      Defendant then replied with

17                   a picture of a smiling face in sun glasses, a black flag,

18                   and the message, “too cool for us tbh.”       Defendant then

19                   posted a screenshot from a newspaper article noting that

20                   50 percent of homicides in U.S. cities did not result in

21                   an arrest.

22         This case is, in the defendant’s words, about his predisposition

23    to use weapons of mass destruction.         The government is entitled to

24    present evidence throughout the course of defendant’s life, leading

25    up to the day of the attack, regarding his willingness to do so.            The

26    government continues to seek leave to introduce all evidence

27    regarding defendant’s experience in the military, the training that

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 1    he received regarding IEDs and pressure cooker bombs, his posts prior

 2    to the FBI’s involvement in support of using an IED, and his

 3    independent posts prior to the day that he planned to commit mass

 4    murder at the end of April 2019 to demonstrate he was predisposed to

 5    use a weapon of mass destruction.

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                                  but yeah its not for everyone

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-22 15:21:51 UTC
                           Body No i mean i say we make it a thing >>》:○○○

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-22 15:22:06 UTC
                           Body Im just kidding

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-22 15:22:18 UTC
                           Body But that was be one hell of a fight

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-22 15:41:00 UTC
                           Body Would*

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-24 17:51:08 UTC
                            Body Fucking metal
                           Share    Date Created 2017-05-24 17:51:08 UTC
                                              Text
                                               Url https://www.facebook.com/738361172846157/vi
                                                   deos/1746160358732895/


                          Author Mark Sunday (100011511920069)
                            Sent 2017-05-24 17:52:04 UTC
                           Body lol wtf

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-24 17:53:11 UTC
                           Body Lol

                          Author Joe Bedikian (1432231869)
                            Sent 2017-05-24 17:53:29 UTC
                           Body Yup

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:05:55 UTC
                            Body Joe sent an attachment.
                           Share    Date Created 2017-06-04 05:05:55 UTC
                                              Text
                                              Title ISIS Car Bomb Destroyed By French Special
                                                    Forces.
                                                Url https://www.facebook.com/CombatWarFootage/
                                                    videos/1947136172236293/


                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:47:36 UTC
                           Body sucks that man didnt reach his target :/ lol

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:48:10 UTC
                           Body Yeah it seemed rather close too

                          Author Mark Sunday (100011511920069)



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                          Facebook Business Record                  Page 1476

                            Sent
                                2017-06-04 05:49:43 UTC
                           Body i watch isis videos... they do these interviews with those drivers...
                                like last words n shit....

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:50:03 UTC
                           Body Where can i find these videos?

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:50:07 UTC
                           Body Live leak?

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:50:22 UTC
                           Body nahhh liveleak is wack

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:50:27 UTC
                           Body Haha

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:50:27 UTC
                           Body http://jihadology.net/2017/05/17/new-video-message-from-the-
                                 islamic-state-we-will-surely-guide-them-to-our-ways-wilayat-
                                 ninawa/

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:50:31 UTC
                           Body http://jihadology.net/2017/05/21/new-video-message-from-the-
                                 islamic-state-penalty-of-the-treacherous-2-wilayat-karkuk/

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:50:36 UTC
                           Body second one has beheadings

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:50:47 UTC
                           Body they cut em off fast as fuq

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:51:03 UTC
                           Body first one has some perfect american speaking fuck

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:51:27 UTC
                           Body Damn, their learning... lol

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:51:51 UTC
                           Body Coward combat

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:51:56 UTC
                           Body nah hes a convert

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:52:00 UTC
                           Body I see


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                          Facebook Business Record                  Page 1477

                          Author
                                 Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:52:06 UTC
                            Body u cant fake that thicc american accent lol

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:52:12 UTC
                           Body Haha

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:52:33 UTC
                           Body first link 9:30 is when u see him

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:52:52 UTC
                           Body Worth wating the whole thing?

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:53:23 UTC
                           Body I have a translator here

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:53:32 UTC
                           Body hi def vids are a bitch

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:55:39 UTC
                           Body also those isis fucks are crafty as fuq

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:55:58 UTC
                           Body Dude that mini plane

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:56:11 UTC
                           Body fucking right

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:56:16 UTC
                           Body LoL

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:57:46 UTC
                           Body Oh shit no lie, an auto turrent

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:58:19 UTC
                           Body bro thats what im saying!!!

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:58:50 UTC
                           Body Rofl a ps2 controller for an RC bomb

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:59:13 UTC
                           Body the life mang

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 05:59:19 UTC


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                          Facebook Business Record                  Page 1478

                            Body
                                   they're livin the life

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 05:59:28 UTC
                           Body Hahaha

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 06:00:22 UTC
                           Body also....that american speaking dude... if u look closely, has an
                                 (((interesting nose)))

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 06:00:41 UTC
                           Body XD

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 06:01:41 UTC
                           Body just saying

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 06:02:14 UTC
                           Body They really should invest in these fancy auto drive cars the
                                 americans are making nowadays lol

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 06:03:08 UTC
                           Body nahhh becuz then no martyrdom... no paradise... no jannah with
                                 allah

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 06:03:17 UTC
                           Body True

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 06:03:22 UTC
                           Body these guys make catchy music tho

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 06:04:05 UTC
                           Body Them long notes son

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 06:04:08 UTC
                           Body Lol

                          Author Joe Bedikian (1432231869)
                            Sent 2017-06-04 06:04:26 UTC
                           Body They must like vocalizing as much as bombing shit

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 06:05:00 UTC
                           Body im literally singing along to the song that comes on around 12:50
                                 in the first vid

                          Author Mark Sunday (100011511920069)
                            Sent 2017-06-04 06:05:21 UTC
                           Body no idea what im saying but catchy lol




                       SUBJECT TO PROTECTIVE ORDER                                 USAO_003745
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